         Case 1:21-cv-00445-CJN Document 199 Filed 11/02/23 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                            )
US DOMINION, INC. et al.,                   )
                                            )
              Plaintiffs,                   )              Case No. 1:21-cv-00445-CJN
                                            )                  Judge Carl J. Nichols
       v.                                   )
                                            )
MY PILLOW, INC. et al.,                     )
                                            )
              Defendants.                   )
                                            )


                      Notice Concerning Discovery Protocol Proposals

       No motions or memoranda were filed by either of the parties on the docket in this case

concerning the proposed discovery protocol in the cases brought by Dominion and consolidated

for purposes of discovery. For the avoidance of doubt, Defendants My Pillow, Inc. and Michael

Lindell agree with the proposed discovery order submitted by the other defendants, which was

filed in US Dominion v. Herring Networks, Inc., et al., no. 1:21-cv-02130-CJN, as docket nos.

142-1, 142-2, 142-3, 142-4, and in US Dominion v. Byrne, et al., no. 1:21-cv-02131-CJN, as

docket nos. 66-2, 66-3, 66-4, 66-5. My Pillow and Lindell join the briefing of the other

defendants with respect to the issue of document custodian interviews.

DATED: November 2, 2023.                    PARKER DANIELS KIBORT LLC

                                             By /s/ Andrew D. Parker
                                               Andrew D. Parker (D.C. Bar No. 63279)
                                               Joseph Pull (D.C. Bar No. 982468)
                                               888 Colwell Building
                                               123 N. Third Street
                                               Minneapolis, MN 55401
                                               Telephone: (612) 355-4100
                                               parker@parkerdk.com
                                               pull@parkerdk.com
